Case 1:12-cr-00004   Document 61   Filed 06/04/13   Page 1 of 7 PageID #: 141
Case 1:12-cr-00004   Document 61   Filed 06/04/13   Page 2 of 7 PageID #: 142
Case 1:12-cr-00004   Document 61   Filed 06/04/13   Page 3 of 7 PageID #: 143
Case 1:12-cr-00004   Document 61   Filed 06/04/13   Page 4 of 7 PageID #: 144
Case 1:12-cr-00004   Document 61   Filed 06/04/13   Page 5 of 7 PageID #: 145
Case 1:12-cr-00004   Document 61   Filed 06/04/13   Page 6 of 7 PageID #: 146
Case 1:12-cr-00004   Document 61   Filed 06/04/13   Page 7 of 7 PageID #: 147
